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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

____________________________________________________

TRUSTEES OF THE MASSACHUSETTS LABORERS’
HEALTH AND WELFARE FUND, MASSACHUSETTS
LABORERS’ PENSION FUND, MASSACHUSETTS
LABORERS’ ANNUITY FUND, NEW ENGLAND
LABORERS’ TRAINING TRUST FUND and
MASSACHUSETTS LABORERS’ LEGAL SERVICES FUND, C.A. No.
                  Plaintiffs,

                               vs.

BORGES CONSTRUCTION, INC.
                Defendant.

____________________________________________________


                                     VERIFIED COMPLAINT

                                     NATURE OF ACTION

        1.      This is an action brought pursuant to §§502 and 515 of the Employee Retirement

Income Security Act of 1974 (“ERISA”), as amended, 29 U.S.C. §§1132(a)(3) and (d)(1) and

1145 and §301 of the Labor Management Relations Act (“LMRA”), as amended, 29 U.S.C.

§185, by employee benefit plans to enforce the obligations to make contributions and pay

interest due to the plans under the terms of a collective bargaining agreement and the plans.

                                         JURISDICTION

        2.      The Court has exclusive jurisdiction of this action pursuant to §502(a), (e) and (f)

of ERISA, 29 U.S.C. §§1132(a), (e) and (f), and concurrent jurisdiction pursuant to §301 of the

LMRA, as amended, 29 U.S.C. §185, without respect to the amount in controversy or the

citizenship of the parties.
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                                            PARTIES

        3.       The Massachusetts Laborers’ Health and Welfare Fund is an “employee welfare

benefit plan” within the meaning of §3(3) of ERISA, 29 U.S.C. §1002(3). It provides health,

dental and prescription benefits and life insurance, accident insurance, and accident and sickness

benefits to participants. The Fund is governed by its Trustees and is administered at 1400

District Avenue, Burlington, Massachusetts, (“the Fund office”) within this judicial district.

        4.       The Massachusetts Laborers’ Pension Fund is an “employee pension benefit plan”

within the meaning of §3(2)(A) of ERISA, 29 U.S.C. §1002(2)(A). It provides participants with

a defined pension benefit. The Fund is governed by its Trustees and is administered at 1400

District Avenue, Burlington, Massachusetts, within this judicial district.

        5.       The Massachusetts Laborers’ Annuity Fund is an “employee pension benefit

plan” within the meaning of §3(2)(A) of ERISA, 29 U.S.C. §1002(2)(A). This Fund is a defined

contribution fund. The Fund is governed by its Trustees and is administered at 1400 District

Avenue, Burlington, Massachusetts, within this judicial district.

        6.       The New England Laborers’ Training Trust Fund is an “employee welfare benefit

plan” within the meaning of §3(1) of ERISA, 29 U.S.C. §1002(1). This Fund trains apprentices

and journey workers in the construction industry. The Fund is governed by its Trustees and is

administered at 37 East Street, Hopkinton, Massachusetts, within this judicial district.

        7.       The Massachusetts Laborers’ Legal Services Fund is an “employee welfare

benefit plan” within the meaning of §3(1) of ERISA, 29 U.S.C. §1002(1). The Fund is governed

by its Trustees and is administered at 1400 District Avenue, Burlington, Massachusetts, within

this judicial district.




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       8.      The Health and Welfare, Pension, Annuity, Training and Legal Services Funds

are multi-employer plans within the meaning of §3(37) of ERISA, 29 U.S.C. §1002(37). They

are hereinafter collectively referred to as “the Funds.” The Funds are third party beneficiaries of

the collective bargaining agreement between Defendant Borges Construction, Inc. (“Borges”)

and the Massachusetts & Northern New England Laborers’ District Council (“Union”).

       9.      Defendant Borges is a Massachusetts corporation with a principal place of

business at 165 Carmelina Circle, Ludlow, Massachusetts and is an employer engaged in

commerce within the meaning of §3(5) and (12) of ERISA, 29 U.S.C. §1002(5) and (12) and

within the meaning of §301 of the LMRA, 29 U.S.C. §185.

                           GENERAL ALLEGATIONS OF FACT

       10.     On or about March 4, 1998, Borges agreed in writing to be bound to the terms of

the Acceptance of Agreement(s) and Declarations of Trust establishing Plaintiff Funds, to the

terms of collective bargaining agreements requiring contributions to Plaintiff Funds, and to any

successor agreements. A true and accurate copy of Borges’s signed Acceptance of Agreement(s)

and Declarations of Trust (“Acceptance of Agreements”) is attached hereto as Exhibit A.

       11.     Because of the Acceptance of Agreements, Borges is party to the Heavy and

Highway Agreement between the Union and the Labor Relations Division of the Construction

Industries of Massachusetts, Inc. (the “CBA”). A copy of the relevant pages of the 2017 - 2022

CBA is attached hereto as Exhibit B.

       12.     The CBA requires employers to make contributions to each of the Plaintiff Funds

for each hour worked by covered employees at rates prescribed therein by the 20th of the month

following the month in which the work was performed. See Ex. B, pp. 24-29.




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       13.     The CBA also requires employers to remit contributions to the New England

Laborers’ Labor-Management Cooperation Trust, the New England Laborers’ Health and Safety

Fund, the Massachusetts Laborers’ Unified Trust, and the Construction Industries of Mass.

Advancement Fund (collectively the “non-ERISA Funds”) for each hour worked by covered

employees at prescribed rates. Further, it specifies that dues and contributions to the Laborers’

Political League (“LPL”) shall be deducted from the pay of each employee and forwarded to the

Funds. Id. at 29-31, 33, 36-37.

       14.     The Fund office collects the contributions owed to all of the ERISA and non-

ERISA Funds and the dues owed to the Union.

       15.     All employers that are delinquent in the payment of contributions are charged

interest on the delinquency at the rate of 10 percent per annum, liquidated damages in the

amount of 20 percent of the delinquency, and reasonable attorneys’ fees and costs to collect the

delinquency. Id. at 31-33.

       16.     Signatory contractors such as Borges are obligated to submit remittance reports

each month, on which they list the hours worked by their employees and calculate the amount of

contributions due the Funds for all work performed by their employees in a given month. They

are also required to submit to periodic audits of their payroll related records.

       17.     Borges has failed to submit contributions and reports in a timely manner for the

months of November and December 2018. On information and belief, Borges employed laborers

for work covered by the CBA during these months.

       18.     In addition, Borges owes $793.28 in interest on contribution payments that were

previously paid late.




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                             COUNT I - VIOLATION OF ERISA -
                              DELINQUENT CONTRIBUTIONS

       19.     Plaintiffs repeat and reallege each and every allegation contained in paragraphs 1

through 18 above.

       20.     The failure of Borges to make payment of all contributions owed to Plaintiff

Funds on behalf of all covered employees violates §515 of ERISA, 29 U.S.C. §1145.

       21.     Absent an order from this Court, Borges will continue to ignore its obligations to

remit the contributions it owes to the Funds.

       22.     A copy of this Complaint is being served upon the Secretary of Labor and the

Secretary of the Treasury by certified mail as required by §502(h) of ERISA, 29 U.S.C.

§1132(h).

      COUNT II - VIOLATION OF COLLECTIVE BARGAINING AGREEMENT -
            DELINQUENT CONTRIBUTIONS, INTEREST, AND DUES

       23.     Plaintiffs repeat and reallege each and every allegation contained in paragraphs 1

through 22 above.

       24.     The CBA is a contract within the meaning of §301 of the LMRA, 29 U.S.C. §185.

       25.     The failure of Borges to pay the contributions it continues to owe for November

and December 2018, to remit the deducted dues, to submit remittance reports, and to pay the

$793.28 in interest it owes on late-paid contributions violates the terms of the CBA.

       WHEREFORE, Plaintiffs request this Court grant the following relief:

       a.      Order the attachment of the machinery, inventory, bank accounts and accounts

receivable of Borges;

       b.      Order Borges to make available to the Plaintiff Funds or their duly authorized

representative all of its payroll records, including, but not limited to, file copies of contribution




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reports, payroll tax returns, employees’ earning records and hours worked, weekly payroll

registers, certified payrolls, cash disbursement journals and a complete listing of all job locations

from its last audited date until the date of the Court’s order for the purpose of ascertaining the

amounts, if any, of unpaid contributions owed for that period;

       c.      Enter a preliminary and permanent injunction enjoining Borges from refusing or

failing to permit the Plaintiff Funds to audit the payroll records as prayed for in the preceding

paragraph;

       d.      Enter a preliminary and permanent injunction enjoining Borges from refusing or

failing to pay the contributions and interest owed to the Funds;

       e.      Enter judgment in favor of the Funds on Count I in the amount of all contributions

due for the months of November and December 2018 plus any additional amounts determined by

the Court to be owed to the Funds or which may become due during the pendency of this action,

together with interest on the unpaid contributions at 10 percent per annum, liquidated damages in

an amount equal to 20 percent of the total of unpaid contributions or the total interest owed,

whichever is greater, reasonable attorneys’ fees, and costs, all pursuant to 29 U.S.C. §1132(g)(2);

       f.      Enter judgment in favor of the Funds on Count II in the amount of any unpaid

contributions and dues for the months of November and December 2018, plus $793.28 in interest

on late-paid contributions, and any additional amounts determined by the Court to be owed to the

Funds or which may become due during the pendency of this action; and

       g.      Such further and other relief as this Court may deem appropriate.

                                                      Respectfully submitted,

                                                      TRUSTEES OF THE MASSACHUSETTS
                                                      LABORERS’ HEALTH AND WELFARE
                                                      FUND, et al.,




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                                                     By their attorneys,

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Dated: February _,
                 2 1 2019




                                       VERIFICATION

        I, Louis A. Mandarini, III verify that I have read the above Verified Complaint, and the
factual allegations set forth therein are true and accurate based on my personal knowledge,
except for those allegations based on infonnation and belief, and, as to those allegations, I
believe them to be true.

         SIGNED UNDER 1HE pAINS AND PENAL TIES OF PERJURY nns                     .i_ DAy OF
FEBRUARY, 2019.


                                                    Louis A. Mandarini, ID




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